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                        IN THE UNITED STATES DISTRICT COURT

                         DISTRICT OF UTAH, CENTRAL DIVISION


UNITED STATES OF AMERICA,                                          INDICTMENT

                      Plaintiff,                         VIOLATIONS:

       vs.                                               Counts 1-3: 18 U.S.C. § 249(a)(2).

ALAN DALE COVINGTON,
                                                          Case: 2: 19-cr-00057
                      Defendant.
                                              Assigned To : Kimball, Dale A
- - - - - - - - - - - - - - - ' - - - A s s i g n . Date: 2/20/2019
                                              Description: USA v.
       The Grand Jury charges:

                                            Countl
                                      18 U.S.C. § 249(a)(2)
                                          (Hate Crime)

       On or about November 27, 2018, in the Central Division of the District of Utah, the

defendant,

                                   ALAN DALE COVINGTON,

willfully caused bodily injury to L.G.L. because ofL.G.L.'.s perceived national origin, namely that

the defendant believed L.G.L. to be Mexican; and, in connection with the offense, the defendant

employed a dangerous weapon that had traveled in interstate and foreign commerce, and the

defendant interfered with commercial and other economic activity in which L.G.L. was engaged
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at the time of the offense; specifically, the defendant entered the premises of L. Tires during

business hours and while L.G.L. was working at L. Tires, yelled that he wanted to "kill Mexicans,"

and struck L.G.L. in the head with a metal pole; as a result, L.G.L. was unable to continue working

that day and for several days thereafter. The offense included an attempt to kill.

       In violation of Title 18, United States Code, Section 249(a)(2).


                                            Count2
                                      18 U.S.C. § 249(a)(2)
                                          (Hate Crime)

       On or about November 27, 2018, in the Central Division of the District of Utah, the

defendant,

                                  ALAN DALE COVINGTON,

willfully caused bodily injury to J.L because of J.L.'s actual and perceived national origin, namely

that the defendant believed J .L. to be Mexican; and, in connection with the offense, the defendant

employed a dangerous weapon that' had traveled in interstate and foreign commerce, and the

defendant interfered with commercial and other economic activity in which J.L. was engaged in at

the time of the offense; specifically, the defendant entered the premises ofL. Tires during business

hours and while J.L. was working at L. Tires, yelled that he wanted to "kill Mexicans," and struck

J.L. with a metal pole.

       In violation of Title 18, United States Code, Section 249(a)(2).


                                            Count3
                                      18 U.S.C. § 249(a)(2)
                                          (Hate Crime)

       On or about November 27, 2018, in the Central Division of the District of Utah, the

defendant,
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                                  ALAN DALE COVINGTON,

willfully attempted to cause bodily injury to A.L., through the use of a dangerous weapon, because

of A.L. 's actual and perceived national origin, namely that the defendant believed A.L. to be

Mexican; and, in connection with the offense, the defendant used a dangerous weapon that had          r


traveled in interstate and foreign commerce, and the defendant interfered with the commercial and

other economic activity in which A.L. was engaged in at the time· of the offense; specifically, the

defendant entered the premises of L. Tires during business hours and while AL. was working at

L. Tires, yelled that he wanted to "kill Mexicans," and swung a metal pole at AL.

       In violation of Title 18, United States Code, Section 249(a)(2).



                                             A TRUE BILL:



                                                                  THE GRAND JURY

JOI-IN W. HUBER




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Trial Attorney
U.S. Department of Justice
Civil Rights Division, Criminal Section




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